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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            ) No. 4:01CR374 CAS
                                                     )
HAISSAM A. NASHAR,                                   )
                                                     )
                      Defendant.                     )


              GOVERNMENT’S MOTION TO UNSEAL COURT RECORDS
             AND ALLOW THIS ATTORNEY TO OBTAIN A COPY OF THE
                 PLEA AGREEMENTAND RELATED DOCUMENTS

       COMES NOW the United States of America, by and through Richard G. Callahan,

United States Attorney for the Eastern District of Missouri, and Michael W. Reap, Assistant

United States Attorney for said District and states the following to this Honorable Court:

       1.      A motion has been filed by defense counsel in a federal prosecution in the

Western District of North Carolina. Sentencing on that case is set for November 16, 2010.

       2.      This attorney today, for the first time, received a copy of this motion and a court

order from the Hon. Charles A. Shaw to respond to this motion by November 2, 2010.

       3.      This attorney was not the trial attorney who was David Rosen and has since

retired from the U.S. Attorney’s Office, Eastern District of Missouri.

       WHEREFORE, the government respectfully requests leave to unseal court documents to

obtain a copy of the plea agreement, any motions for downward departure and a copy of any




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other court records which are sealed in order to answer this pretrial motion filed on behalf of the

defendant in a federal prosecution in the Western District in North Carolina.



                                              Respectfully submitted,

                                              RICHARD G. CALLAHAN
                                              United States Attorney

                                               s/ Michael W. Reap
                                              MICHAEL W. REAP, #9156
                                              Assistant United States Attorney
                                              111 S. 10th Street, 20th Floor
                                              St. Louis, MO 63102
                                              (314) 539-2200




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